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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


 FAIR FIGHT ACTION, INC, et al.,
       Plaintiffs,
       v.                                             Civ. Act. No. 18-cv-5391 (SCJ)
 BRAD RAFFENSPERGER, et al.,
      Defendants.


             PLAINTIFFS’ SUPPLEMENTAL BRIEF OPPOSING
             DEFENDANTS’ RENEWED MOTION TO DISMISS

      The recent hearing leaves no doubt that Defendants oversee, administer,

manage, and control elections in Georgia. Defendants are charged with the duty to

enforce the Georgia Election Code, a duty that requires them to ensure that county

elections officials do the jobs given them under the Georgia Election Code. In light

of Defendants’ broad powers, Defendants have failed to carry their burden of

proving that elections officials from Georgia’s 159 counties are necessary parties

for this Court to accord the statewide relief Plaintiffs are requesting.

      Defendants have likewise failed to carry their heavy burden of proving this

case is moot. Defendants outright concede that H.B. 316, 236 Gen. Assemb., Reg.

Sess. (Ga. 2019) (“HB 316”) has no effect on broad swaths of Plaintiffs’

allegations. The rule is simple: a “court may dismiss a complaint only if it is clear

that no relief could be granted under any set of facts that could be proved

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consistent with the allegations.” Palm Beach Golf Ctr.-Boca, Inc. v. John G.

Sarris, D.D.S., P.A., 781 F.3d 1245, 1260 (11th Cir. 2015) (internal quotation

marks and citations omitted).

      Defendants’ other contentions—including that Defendants did not fail in

their duties to train—are factual in nature and not appropriate for adjudication on a

motion to dismiss.

      Because the correct parties to a live controversy are before this Court and

Plaintiffs have sufficiently pleaded their claims, the Court should deny in its

entirety Defendants’ Renewed Motion to Dismiss.

I.    THE CORRECT PARTIES ARE BEFORE THIS COURT.

      Elections officials from Georgia’s 159 counties are not necessary parties

because Defendants, who are charged with enforcing the Georgia Election Code

and with overseeing, managing, controlling, and administering Georgia’s elections

statewide, can provide the relief requested by Plaintiffs. A court should order

absent parties added only if they are “required.” Fed. R. Civ. P. 19. Under Federal

Rule of Civil Procedure 19(a)(1)(A), a party is required only when “in that

person’s absence, the court cannot accord complete relief among existing parties.”

Fed. R. Civ. P. 19(a)(1)(A) (emphasis added).1


1 A separate provision of the rule, Rule 19(a)(1)(B), provides that an absent party
should be joined when “that person claims an interest relating to the subject of the
action . . .” Here, the absent parties (county elections officials) have not asserted

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      Defendants argue joinder of local elections officials is necessary because

Defendants do not control, oversee, manage, or administer Georgia’s elections.

Defendants essentially argue that because the Georgia Election Code assigns

certain duties to county elections officials, those officials have complete autonomy

and are not answerable to Defendants for whether and how they perform those

duties. (Def. Br. in Supp. of Their Renewed Mot. to Dismiss Pl. Am. Compl. (Mar.

3, 2019), ECF No. 48-1 at 13, 15.) Defendants cite no statutory provisions,

caselaw, or other authority to support these blanket statements. In contrast,

Plaintiffs have cited the Georgia Election Code,2 caselaw from the United States

Court of Appeals for the Eleventh Circuit and this Court,3 an opinion from




they are necessary parties, and Defendants do not and cannot make that argument
on their behalf. See State Farm Mut. Auto. Ins. Co. v. Performance Orthopaedics
& Neurosurgery, LLC, 278 F. Supp. 3d 1307, 1332 (S.D. Fla. 2017) (“Defendants
cannot invoke the necessary party rule set forth in Rule 19(a)(1)(B)”) (citing
ConnTech Dev. Co. v. Univ. of Conn. Educ. Props., Inc., 102 F.3d 677, 683 (2d
Cir. 1996) (rejecting Defendant’s “self-serving attempts to assert interests on
behalf of” absent party)).
2 E.g., O.C.G.A. § 21-2-31(1) and (2) (requiring Defendants to ensure uniformity
in the actions of county elections officials and giving them the enforcement and
rule-making powers to do so).
3 Grizzle v Kemp, 634 F.3d 1314 (11th Cir. 2011); see also Common Cause Ga. v.
Kemp, 347 F. Supp. 3d 1270, 1291 (N.D. Ga. 2018) (the Secretary of State is
charged with enforcing the election laws); Democratic Party of Ga. v. Crittenden,
347 F. Supp. 3d 1324, 1338 n.2 (N.D. Ga. 2018) (same); Georgia Coal. for the
People’s Agenda v. Kemp, 347 F. Supp. 3d 1251 (N.D. Ga. 2018) (the Secretary of
State maintains that it administers and supervises elections).

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Georgia’s Attorney General,4 and statements from the Secretary of State himself5

to demonstrate that Defendants are wrong.

      Showing just how subject even the most local of elections officials are to

Defendants’ authority, the Eleventh Circuit, in Grizzle, 634 F.3d 1314, held that

the Secretary of State was a proper party in a case challenging Georgia Election

Code provisions that precluded certain people from serving as members of local

school boards. Id. at 1318. The Eleventh Circuit stated:

      Although the Secretary of State cannot directly qualify or challenge
      candidates for local boards of education or certify the results of those
      elections, as a member and the chairperson of the State Election Board,
      he has both the power and the duty to ensure that the entities charged
      with those responsibilities comply with Georgia’s election code in
      carrying out those tasks.


4 Ga. Att’y Gen., Official Opinion 2005-3 Letter (Apr. 15, 2005) (the Secretary of
State manages the state’s electoral system), available in Pl. Notebook for Mot. to
Dismiss Hr’g (Apr. 29, 2019) (“Pl. Notebook”) at Tab 22. Attorney General
opinions are persuasive authority. See, e.g., Harris Cty. Comm’rs Ct. v. Moore, 420
U.S. 77, 87 n.10 (explaining Attorney General opinions are entitled to careful
consideration by courts and generally regarded as highly persuasive); Kenny A ex
rel Winn v. Perdue, 356 F. Supp. 2d 1353, 1358 (N.D. Ga. 2005) (citing Campbell
v Poythress, 456 S.E. 2d 110, 111, 216 Ga. App. 834, 835 (Ga. Ct. App. 1995).
5 Ga. Sec’y of State, Elections, http://sos.ga.gov/index.php/elections (last visited
May 6, 2019) (the Secretary of State oversees all elections in Georgia) available in
Pl. Notebook at Tab 24, pp. 33–34. This Court can take judicial notice of the
Defendants’ websites because they are not capable of reasonable dispute. See
Common Cause Ga., 347 F. Supp. 3d at 1297 (taking judicial notice that websites
hosted by the Secretary of State and county did not post the required free access
hotline number); Haynes v. McCalla Raymer, LLC, No. 1:11-CV-3149-TWT, 2013
WL 2452241, at *3 n.1 (N.D. Ga. June 5, 2013) (denying Defendant’s motion to
dismiss and taking judicial notice of statements on Defendant’s website because
they were not capable of reasonable dispute).

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Id. at 1319 (emphasis added). In other words, local elections officials do not have

autonomy because Defendants here have not just the power, but also the duty, to

ensure that those officials comply with Georgia’s Election Code in carrying out

their tasks. Indeed, the named Defendants are the only elections officials who can

ensure uniformity in elections statewide. O.C.G.A. § 21-2-31(1).

      Consistent with Grizzle, Northern District of Georgia judges have repeatedly

ordered the Secretary of State to instruct and direct county elections officials on a

wide variety of actions Defendants incorrectly assert are within the exclusive

province of local officials. See, e.g., Martin v. Kemp, 341 F. Supp. 3d 1326, 1341

(N.D. Ga. 2018) (ordering the Secretary of State to issue “instructions to all county

boards of registrars, boards of elections, election superintendents, and absentee

clerks” with respect to acceptance of certain absentee ballot applications and

ballots); see also Temporary Restraining Order, Martin v. Kemp, No. 1:18-CV-

4789-LMM (N.D. Ga. Oct. 25, 2018), ECF No. 32; Georgia Coal. for People’s

Agenda, Inc., 347 F. Supp. 3d at 1270 (enjoining the Secretary of State to “[d]irect

all county registrars, deputy registrars, and poll managers on how to verify proof of

citizenship” and “[d]irect the county boards of elections to post a list of acceptable

documentation to prove citizenship”); Common Cause Ga., 347 F. Supp. 3d at

1300 (ordering “the Secretary of State to direct each of the 159 county election

superintendents to . . . publicize the availability of the hotline or secure website on


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the county and county election websites” and “direct the county election

superintendents” to review certain provisional ballots or engage in an independent

review).

      Further refuting Defendants’ argument that they lack the power to tell

county elections officials what to do, Defendants have brought enforcement actions

against counties that failed to comply with Georgia’s Election Code and State

Election Board regulations. For example, the State Election Board, which the

Secretary of State chairs, entered into a Consent Agreement with Fulton County

based on “issues that arose in Fulton County during the general election and

general election runoff of 2008 as well as the primary and general election of

2012.” In re Fulton Cty. Bd. of Registration and Elections, Consent Order, SEB

Cases 2008-000084, 2008-000104, 2008-000134, 2012-000056, 2012-000156

(June 22, 2015), at 1–2 (Ex. A). The State Election Board has also enforced

compliance for, inter alia, “fail[ing] to adequately train some poll workers in

provisional ballot procedures” in violation of O.C.G.A. §§ 21-2-70(8), -419, and

Ga. R. & Reg. 183-1-12-.06(13)(a), id. at 4; “fail[ing] to offer provisional ballots to

at least five electors due to an apparent shortage of available provisional ballots” in

violation of O.C.G.A. § 21-2-418, id. at 5; failing to interlock DRE machines “with

a chain or cable, in violation of O.C.G.A. § 21-2-369.9,” id. at 2; assigning voters

to incorrect precincts in violation of O.C.G.A. §§ 21-2-70, -226, id. at 3; and


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failing to provide an absentee ballot to one voter in violation of O.C.G.A. § 21-2-

384, id. Using its enforcement power, the State Election Board also ordered the

Fulton County Board of Registration and Elections to, inter alia, establish

additional advance voting locations, improve the training of its poll workers, and

evaluate its policies, procedures, and systems “to facilitate the efficient and

accurate administration of voter registration and election activities[.]” Id. at 9.

These enforcement proceedings demonstrate that, directly contrary to Defendants’

arguments, Defendants have the power to oversee, direct, manage and control

county elections officials in carrying out even their most basic local functions.6

      Precedent demonstrates that local elections officials are not necessary parties

when the named defendants are state elections officials with the power to direct

localities or counties.7 Local officials are especially unnecessary when, as here,


6 The Amended Complaint alleges that the “Secretary of State takes an active role
in how counties conduct elections,” including by recommending polling place
consultants to counties, encouraging polling place consolidation, and outlining why
polling place closures were appropriate. (Am. Compl. (Feb. 19, 2019), ECF No.
41, ¶¶ 60,108.)
7 See, e.g., Harman v. Forssenius, 380 U.S. 528, 537 n.14 (1965) (in lawsuit
challenging Virginia’s voting requirements local registrars were not indispensable
parties “given the State Board of Elections’ power to supervise and to insure
‘legality’ in the election process”); League of Women Voters of Ohio v. Blackwell,
432 F. Supp. 2d 723, 733 (N.D. Ohio 2005), aff’d in part, rev’d in part sub nom.
League of Women Voters of Ohio v. Brunner, 548 F.3d 463 (6th Cir. 2008) (since
plaintiffs “seek a state-level remedy for alleged state-wide constitutional wrongs,”
the “presence or absence of the local [Boards of Election] has no bearing on
whether complete relief can be granted.”); State Comm. of Indep. Party v. Berman,
294 F. Supp. 2d 518, 520 (S.D.N.Y. 2003) (county boards of elections not

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plaintiffs seek a statewide remedy for statewide harms.8 Defendants have the

power to provide the relief Plaintiffs have requested. And should it turn out, as

Defendants argue, that certain items of relief requested by Plaintiffs are not within

Defendants’ powers to provide, the relief can be shaped accordingly once Plaintiffs

have the benefit of discovery and this Court has the benefit of evidence.

II.   THIS LITIGATION IS NOT MOOT.

      Both sides agree that, at a minimum, the bulk of the Amended Complaint

remains live. (See, e.g., Tr. 24:18–25.) “Generally, a case becomes moot only

when it is impossible for a court to grant any effectual relief whatever to the

prevailing party.” Cook v. Bennett, 792 F.3d 1294, 1299 (11th Cir. 2015) (internal

quotation marks and citation omitted). Defendants do not argue that this exacting

standard is satisfied here.

      A.     Defendants bear the heavy burden to show the litigation is moot.

      The defendant, not the plaintiff, bears the “heavy” burden of proving

mootness. See Ouachita Watch League v. Jacobs, 463 F.3d 1163, 1175 (11th Cir.



necessary parties where defendant State Board of Elections had the power and
responsibility to oversee the county boards).
8 As the Court recognized, even if county elections officials are necessary parties
(they are not), it is feasible to join them. (See Mot. Hr’g Tr. (Apr. 29, 2019) (“Tr.”)
at 57:1–15.) Joinder would not destroy jurisdiction because the Court has federal
question jurisdiction over this case. See Focus on the Family v. Pinellas Suncoast
Transit Auth., 344 F.3d 1263, 1280 (11th Cir. 2003). Additionally, the Court has
personal jurisdiction over all Georgia residents under Federal Rule of Civil
Procedure 4(k)(1)(A), and they are subject to service of process in the state.

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2006) (“Since the tie goes to the runner in the mootness inquiry and we cannot

ascertain whether the provisions have any effect, we must conclude that the Forest

Service has failed to carry its heavy burden to establish that Ouachita’s claims are

moot.”); see also Bennett v. Jefferson County, Ala., 899 F.3d 1240, 1245 (11th Cir.

2018) (“[T]he party who alleges that a controversy before us has become moot has

the ‘heavy burden’ of establishing that we lack jurisdiction’”) (quoting Michigan v.

Long, 463 U.S. 1032, 1042 n.8 (1983)). The degree of proof needed to assess a

court’s jurisdiction changes depending on the stage of litigation. Even in assessing

standing, in which the plaintiff bears the burden of proof, the Supreme Court has

held that justiciability must be proved only “with the manner and degree of

evidence required at the successive stages of litigation.” Lujan v. Defenders of

Wildlife, 504 U.S. 555, 561 (1992). Thus, in assessing justiciability at the motion to

dismiss stage, plaintiffs’ allegations must be “taken to be true.” See id.

      To assess mootness, the Court must assume that a plaintiff’s claim is

meritorious and restrict its analysis to whether, using that assumption, the new

legislation eliminates the plaintiff’s alleged harm. See, e.g., Bennett, 899 F.3d

1240; Johnson v. Turpin, No. 94-9420-AA, 2001 WL 520804, at *1 (11th Cir. Apr.

11, 2001) (accepting plaintiff’s allegations as true in mootness inquiry). In Bennett,

the Eleventh Circuit rejected the defendant’s mootness challenge because it was

based on the court not having the legal authority to issue the requested relief. The


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Eleventh Circuit observed that this challenge “confuse[d] mootness with the

merits.” 899 F.3d at 1246.

      As discussed at oral argument, Coalition for the Abolition of Marijuana

Prohibition (CAMP) v. City of Atlanta, 219 F.3d 1301 (11th Cir. 2000), sets out the

proper framework for assessing mootness in the context of the kind of new

legislation presented here. In CAMP, the Eleventh Circuit explained that “to

determine whether the controversy presented on appeal is moot, we must ‘stop,

look, and listen’ to determine the impact of the changes in the law.’” Id. at 1310

(quoting Naturist Soc’y, Inc. v. Fillyaw, 958 F.2d 1515, 1520 (11th Cir. 1992)); see

also Northeastern Fla. Chapter of Associated Gen. Contractors of Am. v. City of

Jacksonville, 508 U.S. 656 (1993). The Court therefore scrutinized the new

legislation to determine whether it eliminated all of the harm the plaintiff had

asserted with respect to the prior legislation. Id. at 1315.

      Coral Springs Street Systems, Inc. v. City of Sunrise is in accord with

CAMP’s holding in saying: “[W]hen an ordinance is repealed by the enactment of

a superseding statute, then the ‘superseding statute or regulation moots a case only

to the extent that it removes challenged features of the prior law.’” 371 F.3d 1320,

1329 (11th Cir. 2004) (quoting CAMP, 219 F.3d at 1310). The case, however, is

inapplicable insofar as it goes on to reject the assertion that the defendant city

might reenact the offending ordinance. Id. Here, Plaintiffs do not assert that


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unconstitutional laws might be reenacted; rather, Plaintiffs assert that

implementation of HB 316 and H.B. 392, 236 Gen. Assemb., Reg. Sess. (Ga.

2019) (“HB 392”) will not eliminate the harms pleaded.9

      B.     HB 316 and 392 do not eliminate the alleged harms.

      Applying the CAMP “stop, look, and listen” analysis to HB 316 and 392

demonstrates that the new legislation is not the comprehensive reform Defendants

claim. Nor do the new legislation’s marginal changes eliminate the harms about

which Plaintiffs complain. See Pl. Demonstrative Analysis of HB 316’s Effect on

Am. Compl. available in Pl. Notebook at Tab 23.

      As a threshold matter, most of Plaintiffs’ allegations relate to the repeated

failures of the Secretary of State and the Board (through its members) to enforce

the Georgia Election Code against local elections officials and to carry out the

Code’s mandate to make Georgia’s elections uniform and fair. Because these

allegations are not that the Georgia Election Code is deficient but rather pertain to

Defendants’ failure to follow the Georgia Election Code, amending the Georgia

Election Code does not eliminate the harms about which Plaintiffs complain.

      For Plaintiffs’ claims asserting that a Georgia Election Code provision

(specifically, the “purge” statute regarding registered voters) or a Secretary of State


9 United States v. Georgia, 778 F.3d 1202, 1204 (11th Cir. 2015), is
distinguishable on the same basis and for the reason stated infra at 12–13.


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policy (specifically, the “exact match” policy) is unconstitutional or otherwise

unlawful, neither HB 316 nor 392 remedies the harm alleged because the

amendments do not address those harms. See Pl. Demonstrative Analysis of HB

316’s Effect on Am. Compl., 2–10, available in Pl. Notebook at Tab 23.

      And, with respect to Plaintiffs’ claims about Defendants’ insecure and

unreliable DRE voting machines, those claims are not moot because the DRE

machines will remain in use through at least the next election and potentially

longer, pending contingencies like the ongoing RFP process and the need for

federal certification of the machines ultimately acquired.10 Similarly, HB 392,

which requires the Secretary of State to promulgate rules regarding security

protocols for voter registration information, is contingent upon promulgation of a

regulation consistent with industry standards that effectively eliminates the

ongoing harms of the insecure voter registration list. If this fails to occur, the

Secretary of State has no obligation to implement new rules addressing security

and voter registration.

      Because the new provisions will not be implemented before the next

election, United States v. Georgia, 778 F.3d at 1204, is inapposite. There, the



10 Defendants also argue that claims relating to the new voting machines are not
ripe. (Tr. 28:10-14.) This eviscerates their mootness argument by acknowledging
the new machines are subject to many contingencies. So, the court should focus on
what is in place for the next election: the insecure and unreliable DRE machines.

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legislature repealed the offending provision in its entirety, replacing it with a

provision that would be in place for the next election and would unquestionably

eliminate the plaintiff’s asserted harm. Id. Here, in contrast, the Eleventh Circuit’s

statement in Fanin v. United States Department of Veteran Affairs, 572 F.3d 868,

876 (11th Cir. 2009), applies: “Almost moot is not actually moot.”

       Furthermore, Defendants’ mootness argument rests on the notion that even

were the new voting machines and security measures in place for the next election,

they would eliminate the harms Plaintiffs allege, such as lack of security, paper

ballots and an audit trail. Defendants’ argument not only raises disputed factual

issues that are inappropriate to decide at the motion to dismiss stage, but also

improperly confuses mootness with the merits.11

III.   PLAINTIFFS SEEK PROSPECTIVE RELIEF FOR SYSTEMIC
       HARMS INFLICTED BY THE DEFENDANTS.

       Defendants spent significant time at oral argument suggesting that Plaintiffs

are not entitled to prospective relief because the Amended Complaint challenges

only the administration of the 2018 election. (Tr. 22:18–20, 33:5–7.) Defendants

are wrong. The Amended Complaint details the decades-long pervasive and

systemic unconstitutionality of Georgia’s elections system. (Am. Compl. ¶¶ 39, 45,

47, 78, 95, 108–09, 215–24, 227.) Even Defendants’ counsel acknowledged at the


11 As this Court observed at the hearing, these issues will likely be the subject of
extensive expert testimony. (Tr. 49:5–11.)

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hearing that “Georgia does not have the best history in terms of voting rights and

so on.” (Tr. 33:5–7.)

      That Plaintiffs’ Amended Complaint cites many instances of misconduct

during the 2018 election cycle does not mean that Plaintiffs’ case is based only on

the 2018 election. As the Eleventh Circuit recognized in Curling v. Worley, No.

18-13951, --- F. App’x ---, 2019 WL 480034 (11th Cir. Feb. 7, 2019), “Plaintiffs

use these allegations only to show that past is prologue to their future injuries

caused by the same election system.” Id. at *4 (citing Lynch v. Baxley, 744 F.2d

1452, 1456 (11th Cir. 1984) (“Past wrongs do constitute evidence bearing on

whether there is a real and immediate threat of repeated injury which could be

averted by the issuing of an injunction.”)).

      Defendants also argue the new legislation rewrites the Georgia Election

Code so profoundly that Plaintiffs can no longer seek prospective relief. (Tr. 7:16–

21, 12:6–14.) Defendants’ assertion relies on two false premises: (1) that HB 316

and 392 constitute a sweeping change to the Georgia Election Code; and (2) that

Plaintiffs’ allegations rest solely on Georgia Election Code provisions that have

now been changed. As described above, the new legislation changes very little of

the Georgia Election Code. And, in any event, Plaintiffs’ claims, with the

exception of Plaintiffs’ challenge to the “purge” statute, are not challenges to the

Georgia Election Code; rather, they are based on Defendants’ failure to follow and


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enforce the Georgia Election Code and on Defendants’ creation and enforcement

of the “exact match” policy. The new legislation provides no relief from those

harms. Therefore, Plaintiffs still require prospective relief to ensure future

elections in Georgia are conducted constitutionally.12

IV.   PLAINTIFFS ADEQUATELY PLEAD CLAIMS UNDER A
      FAILURE-TO-TRAIN THEORY.

      Failure-to-train claims are “fact-intensive inquir[ies].” Paul v. City of N.Y.,

No. 16-CV-1952 (VSB), 2017 WL 4271648, at *6 (S.D.N.Y. Sept. 25, 2017)

(citing Cash v. Cty. of Erie, 654 F.3d 324, 334 (2d Cir. 2011) (“deliberate

indifference . . . necessarily depends on a careful assessment of the facts at issue in

a particular case”)). “It is unlikely that a plaintiff would have information about the

[Defendant’s] training programs or about the cause of the misconduct at the



12 Defendants also asserted for the first time at the hearing that states have “special
sovereignty interests” in their elections system that prohibit injunctive relief
“directing the precise way in which Georgia should conduct voting.” (Tr. 12:15–
22 (quoting Curling, 2019 WL 480034, at *5)). But as the Eleventh Circuit also
explained in Curling, those interests are not implicated when elections officials are
accused of carrying out unconstitutional elections: “[u]ndoubtedly, Ex parte Young
suits are permitted when the plaintiff alleges that state election officials are
conducting elections in a manner that does not comport with the Constitution.”
Curling, 2019 WL 480034, at *5 (citing Grizzle, 634 F.3d at 1316). The Eleventh
Circuit went on to explain that the suit was proper because plaintiffs sought “only
injunctive and declaratory relief against a system that they decr[ied] as
unconstitutionally unsecure.” Id. As in Curling, Plaintiffs here seek injunctive
relief against an unconstitutional system, and the relief will be tailored to the scope
of the Defendants’ authority once Plaintiffs have the benefit of discovery and this
Court has the benefit of evidence.

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pleading stage, and therefore [Plaintiffs] need only plead that the [Defendant’s]

failure to train caused the constitutional violation.” Amnesty Am. v. Town of W.

Hartford, 361 F.3d 113, 130 n.10 (2d Cir. 2004). Plaintiffs here have done so.

(Am. Compl. ¶¶ 139, 155–56.)

      Plaintiffs’ allegations related to Defendants’ failure to train are sufficient at

this stage of the litigation because they give Defendants notice of the claims and

grounds on which they are based. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

The Complaint notifies Defendants that Plaintiffs’ deliberate indifference

allegations are based on Georgia’s “history of neglecting its elections infrastructure

and suppressing votes” (Am. Compl. ¶ 39) and a “pattern of tortious conduct by

inadequately trained [poll workers and county elections officials]” as opposed to a

“one-time negligent administration of [a training] program.” See Board of the Cty.

Comm’rs v. Brown, 520 U.S. 397, 407–08 (1997).

      Plaintiffs further allege Defendants have duties to train that Defendants fail

to carry out at two levels: Defendants fail to properly train county elections

officials and that Defendants fail to ensure that county elections officials are

carrying out their statutory obligation to train poll workers. (Am. Compl. ¶¶ 139,

155.) These allegations are based on statutory duties Defendants themselves have,

not on a respondeat superior theory. Because Defendants have statutory duties and

authorities to train, oversee, investigate, and bring enforcement actions against


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counties and their elections officials, Defendants are subject to suit under 42

U.S.C. § 1983 for constitutional deprivations caused by failing to exercise these

duties. See O.C.G.A. § 21-2-31(1), (2), (5), (10); O.C.G.A. § 21-2-50(a)(11); see

also (Am. Compl. ¶¶ 53–67.).

      While Defendants argue that the link between Defendants’ failure to train

and the alleged constitutional harm (e.g., preventing voters from casting a vote or

having their ballots counted) is too attenuated, Georgia Coalition for People’s

Agenda, Inc., 347 F. Supp. 3d at 1263, shows the opposite. There, Judge Ross

identified the Secretary of State’s bulletin for county elections officials and

Georgia Poll Worker Manual13 as “indicat[ing] a lack of training to poll workers”

and tied that lack of training to the alleged deprivation of constitutional rights:

“[T]here has been a lack of training of election officials for verifying citizenship at

the polls, all of which could lead to these individuals not being able to cast a vote

in the upcoming election.” Id. at 1268. Plaintiffs allege this same link between the




13 Defendants’ counsel stated that the Secretary of State can “go on his volition
and have information available for poll workers,” but “that’s not a basis of
liability” because “that’s something they’re going ahead and doing on their own
that they’re not required to do.” (Tr. 82:3–6.) This argument is incorrect. When the
Secretary of State takes it upon himself to train poll workers, he must ensure that
training is appropriate and accurate given his overarching responsibility to ensure
fair and legal elections. Defendants have a legal obligation to ensure that county
elections officials and poll workers are adequately trained, and inadequate training
is a basis for liability. City of Canton v. Harris, 489 U.S. 378, 388 (1989).

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Secretary of State and training deficiencies. (Am. Compl. ¶¶ 49–50, 57, 65, 131,

134–36, 142–43.)

      Plaintiffs’ allegations are similar to those found sufficient in League of

Women Voters, 432 F. Supp. 2d 723, where the court denied defendants’ motion to

dismiss in Ohio, a state in which the top-down statutory scheme for elections is

similar to Georgia’s. There, the court held that plaintiffs sufficiently pleaded a

failure-to-train claim where they alleged that the defendants, the Secretary of State

and Governor of Ohio, acted with “deliberate indifference” to voters’ constitutional

rights shown by a “history of election problems in Ohio that should have put

defendants on notice of the need for better training,” “election problems

stem[ming] from a statewide failure to ensure adequately trained poll workers,”

and “problems with provisional balloting” that “occurred on a broad basis.” Id. at

729–30. Plaintiffs likewise plead that Defendants acted with “deliberate

indifference,” (Am. Compl. ¶¶ 139, 155), shown by: Georgia’s history, (id. ¶ 39),

Defendants’ knowledge “that the 2018 Election would have particularly high

turnout,” (id. ¶ 155), and Defendants’ failure to “train county elections officials

adequately on the use of” provisional and absentee ballots “despite knowing that

this training is necessary.” (Id. ¶¶ 139, 155.) As in League of Women Voters,

Plaintiffs have met their pleading burden for a failure-to-train claim.




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                                CONCLUSION

      For the foregoing reasons, this Court should dismiss Defendants’ motion and

allow this matter to proceed promptly with discovery.

      Respectfully submitted this the 6th day of May, 2019.




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                                CERTIFICATION

      I certify that this brief has been prepared in a Times New Roman 14-point

font, one of the font and point selections that this Court has approved. See LR

5.1(C)(3).



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                        CERTIFICATE OF SERVICE

      I hereby certify that on this 6th day of May, 2019, I electronically filed the

foregoing PLAINTIFFS’ SUPPLEMENTAL BRIEF OPPOSING DEFENDANTS’

RENEWED MOTION TO DISMISS with the Clerk of Court using the CM/ECF

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